         Case 22-33553 Document 826 Filed in TXSB on 08/22/24 Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

In re:                                           §   Chapter 7
                                                 §
ALEXANDER E. JONES                               §   Case No. 22-33553
                                                 §
         Debtor.                                 §


     ORDER AUTHORIZING PAYMENT OF FINAL FEE APPLICATION OF
 BLACKBRIAR ADVISORS LLC AS FINANCIAL ADVISOR TO THE DEBTOR FOR
      THE PERIOD FROM DECEMBER 02, 2022, THROUGH JUNE 14, 2024
         ON THIS DATE this Court considered the Final Fee Application of BlackBriar Advisors

LLC (“BlackBriar”) Financial Advisor to the Debtor for Allowance and Payment of Fees and

Expenses for the Period from December 02, 2022 Through June 14, 2024 (the “Application”). The

Court finds that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334(b); that

this is a core proceeding pursuant to 28 U.S.C. § 157(b), and that the venue of this proceeding in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The Court has considered the

Application and any objections prior to the signing of this order.

Accordingly, IT IS HEREBY ORDERED THAT:
1.       The Application is GRANTED as set forth therein.

2.       BlackBriar is awarded $1,568,205.00 for professional fees and services provided during

the Application Period of December 02, 2022, through June 14, 2024.

3.       BlackBriar is awarded $105,087.82 for reimbursement of actual and necessary expenses

incurred by BlackBriar during the Application Period.

4.       Notice of the Application provided by BlackBriar is deemed to be good and sufficient

notice of the Application, and the requirements of the Local Rules are satisfied by the contents of

the Application.
         Case 22-33553 Document 826 Filed in TXSB on 08/22/24 Page 2 of 2




5.       The Court retains jurisdiction with respect to all matters arising from or related to the

implementation of this Order.

         IT IS FURTHER ORDERED that, notwithstanding any Bankruptcy Rule to the contrary,

the terms and conditions of this Order shall be immediately effective and enforceable upon its

entry.



         Dated: ___________, 2024             _______________________________________
                                              CHRISTOPHER M. LOPEZ
                                              UNITED STATES BANKRUPTCY JUDGE




                                                 2
